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                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                                       MONROE DIVISION

  UNITED STATES OF AMERICA                          *       CRIMINAL NO. 15-0133-02


  VERSUS                                            *       JUDGE ROBERT G. JAMES


  APRIL M. AUGUSTINE                                *       MAG. JUDGE KAREN L. HAYES

                                        JUDGMENT

        The Report and Recommendation of the Magistrate Judge having been considered, and

 the parties having waived their right to object thereto,

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the District Court

 accepts the guilty plea of the defendant, April Augustine, and adjudges her guilty of the offense

 charged in Count One of the Superseding Indictment against her.

        Monroe, Louisiana, this 28th day of January, 2016.
